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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

 TRUTEK CORP.,                                     Case No. 21‐10312

        Plaintiff,                                 F. Kay Behm
 v.                                                United States District Judge

 BLUEWILLOW BIOLOGICS, INC.; ROBIN
 ROE 1 through 10, gender neutral
 fictitious names; and ABC
 CORPORATION 1 through 10 (fictitious
 names),

      Defendants.
 ___________________________ /

                      OPINION AND ORDER DENYING PLAINTIFF’S
                     MOTION FOR RECONSIDERATION (ECF No. 89)

       In this patent infringement case, Plaintiff/Counter‐Defendant Trutek Corp.

 (“Trutek”) alleges that Defendant/Counter‐Plaintiff BlueWillow Biologics

 (“BlueWillow”) has infringed a patent held by Trutek for an “Electrostatically

 Charged Multi‐Acting Nasal Application, Product, and Method,” U.S. Patent No.

 8,163,802 (the “’802 Patent”). (ECF No. 1, PageID.2‐3).

       On September 19, 2023, the court issued an opinion and order directed to

 the issue of damages in this case (the “Order”). (ECF No. 84). Presently before

 the court is Trutek’s motion for reconsideration (ECF No. 89) of the portion of the


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 Order granting BlueWillow’s motion for summary judgment of no pre‐suit

 damages. (ECF No. 84, PageID.4275‐4281). Pursuant to Local Rule 7.1(h)(3), the

 court will decide Trutek’s motion for reconsideration without responsive briefing

 and without a hearing. For the reasons stated in this opinion and order, the court

 DENIES Trutek’s motion for reconsideration.

 I.    RELEVANT PROCEDURAL HISTORY

       As set forth in the Order, the court assumes familiarity with and

 incorporates by reference the factual and procedural history of this patent

 infringement case. (ECF No. 84, PageID.4225‐4228). The court issued the Order

 on September 19, 2023, following the completion of discovery and the filing of

 dispositive motions, to address the issue of damages in this case. In the Order,

 the court held that Trutek cannot recover damages in this case on two

 independent grounds. First, as a discovery sanction, the court granted

 BlueWillow’s motion in limine to exclude Trutek’s damages‐related theories or

 evidence under Federal Rule of Civil Procedure 37(c)(1). Id., PageID.4244‐4259.

 The court explained that the exclusion precludes Trutek from relying on

 undisclosed damages evidence and, given the extent of non‐disclosure, effectively

 precludes Trutek from seeking damages. Id., PageID.4258‐4259. “Assuming

 Trutek suffered damages remediable by a damages award,” the court found that

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 the outcome of no damages was warranted because “Trutek never adequately

 asserted a claim for damages.” Id., PageID.4258.

       Second, assuming, arguendo, that Trutek adequately asserted a claim for

 damages, the court granted BlueWillow’s motion for summary judgment of no

 damages under Federal Rule of Civil Procedure 56. Id., PageID.4266‐4275. The

 court explained that the only piece of damages evidence produced by either

 party, a sales document demonstrating BlueWillow’s sales of the accused

 NanoBio product does not, standing alone, support a nonspeculative damages

 award. Id., PageID.4274‐4275. “As to either the amount of lost profits or the

 amount of a reasonable royalty,” the court found that the outcome of no

 damages was warranted because “Trutek cannot meet its burden of proving the

 amount of damages.” Id., PageID.4275.

       In addition, for a separate reason, the court granted BlueWillow’s motion

 for summary judgment of no pre‐suit damages. Id., PageID.4275‐4281. Pre‐suit

 damages are a subcategory of damages. The court found that “BlueWillow is

 entitled to summary judgment of no pre‐suit damages” because “BlueWillow has

 met its burden of ‘pointing out’ the ‘absence of evidence’ for Trutek to meet its

 burden of proving compliance with the marking requirement [of 35 U.S.C.




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 § 287(a)].” Id., PageID.4280‐4281 (quoting Celotex Corp. v. Catrett, 477 U.S. 317,

 325 (1986)).

       On October 3, 2023, Trutek filed the present motion for reconsideration of

 the Order. (ECF No. 89). In requesting reconsideration, Trutek does not challenge

 the court’s holding that Trutek cannot recover damages in this case. However,

 Trutek requests reconsideration of the additional portion of the Order in which

 the court granted BlueWillow’s motion for summary judgment of no pre‐suit

 damages. Id., PageID.4392.

 II.   RELEVANT LEGAL STANDARDS

       The court set forth the legal standards for recovering pre‐suit damages in

 the Order. (ECF No. 84, PageID.4275‐76). Generally, 35 U.S.C. § 287(a) requires a

 patentee who makes and sells articles covered by the patent to provide

 constructive notice to the public by marking the patented articles with the patent

 number. Id. Failure to mark patented products with the patent number may bar

 the patentee from recovering pre‐suit damages. Specifically, Section 287(a)

 states: “In the event of failure to so mark, no damages shall be recovered by the

 patentee in any action for infringement, except on proof that the infringer was

 notified of the infringement and continued to infringe thereafter, in which event

 damages may be recovered only for infringement occurring after such notice.” Id.

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 Section 287(a) extends to persons making or selling patented articles “for or

 under” the patentee. Id. The marking requirement therefore applies to both the

 patentee and the patentee’s licensees. Maxwell v. J. Baker, Inc., 86 F.3d 1098,

 1111 (Fed. Cir. 1996) (citing 35 U.S.C. § 287(a)).

        The patentee has the burden of pleading and proving compliance with the

 marking requirement. Arctic Cat Inc. v. Bombardier Recreational Prods. Inc., 876

 F.3d 1350, 1366 (Fed. Cir. 2017). The infringer has the initial burden of

 production to put the patentee on notice of specific unmarked articles it believes

 are covered by the patent. Id. at 1368. Once the infringer meets its initial burden

 of production, the patentee then has the burden of proving that the unmarked

 articles do not practice the patented invention. Id.

 III.   TRUTEK’S MOTION FOR RECONSIDERATION

        In its motion for reconsideration, Trutek argues that the court erred in

 granting BlueWillow’s motion for summary judgment of no pre‐suit damages.

 Specifically, Trutek argues that the court erred in finding that BlueWillow has met

 its initial burden of production and that Trutek, therefore, must meet its burden

 of proving compliance with the marking requirement.




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       A.    Background

       Trutek’s arguments for reconsideration center on two declarations of

 counsel concerning whether BlueWillow has met its initial burden of production.

 In support of its motion for summary judgment, BlueWillow submitted a

 declaration from BlueWillow’s counsel Liane M. Peterson (the “Peterson

 Declaration”). (ECF No. 59‐3). The Peterson Declaration states, in relevant part:

             11. In January 2023, I personally purchased two products
             manufactured and sold by Matrixx Initiatives – Zicam
             Extreme Congestion Relief Nasal Spray and Zicam Cold
             Remedy Nasal Swabs. Trutek accused both of these
             Matrixx products of infringing U.S. Patent No. 8,163,802
             in an earlier‐filed litigation. The Matrixx litigation was
             dismissed on November 30, 2020. Based on information
             produced by Trutek in discovery in this litigation,
             [redacted]. While both of the Matrixx products I
             purchased in January 2023 are marked with notice of
             other patents, neither product is marked with U.S.
             Patent No. 8,163,802.

 Id., PageID.1888 (internal citations omitted). BlueWillow cited the Peterson

 Declaration to argue that “Trutek has not disclosed any evidence that its

 licensee(s) of the ’802 Patent have complied with the marking requirements of §

 287(a),” (ECF No. 59, PageID.1693), and that “BlueWillow met its burden to

 provide notice of unmarked products,” (ECF No. 80, PageID.3705).




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       In granting BlueWillow’s motion for summary judgment of no pre‐suit

 damages, the court relied on the Peterson Declaration to find that BlueWillow has

 met its initial burden of production. As stated in the Order:

             Trutek alleges that it both sells the patented NasalGuard
             products and licenses the ’802 Patent. As to unmarked
             articles, BlueWillow submits a declaration stating that in
             January 2023, two different products purchased from
             Matrixx, a Trutek licensee from a separate patent
             infringement case that settled in November 2020, were
             marked with other patent numbers but not the ’802
             Patent number.

 (ECF No. 84, PageID.4276‐4277) (internal citations omitted).

       In its motion for reconsideration, Trutek argues that the court’s reliance on

 the Peterson Declaration is “problematic” because the Peterson Declaration is

 “factually inaccurate” and based on the “erroneous assumption” that Matrixx is a

 Trutek licensee. (ECF No. 89, PageID.4397‐4398). In an effort to rebut the

 Peterson Declaration and show that the relationship between Trutek and Matrixx

 is not a licensing relationship, Trutek submits a declaration from Trutek’s counsel

 Stanley H. Kremen (the “Kremen Declaration”). (ECF No. 89‐1). In response to

 the Peterson Declaration, the Kremen Declaration states:

             11. In the above captioned present lawsuit, as an exhibit
             in BlueWillow’s Motion for Summary Judgment,
             Attorney Liane Peterson submitted her declaration. In
             Paragraph 11 therein, Ms. Peterson stated that she

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              purchased two Zicam® products made and sold by
              Matrixx. Ms. Peterson assumed merely because Trutek’s
              lawsuit against Matrixx was settled, that Trutek had
              conferred a license upon Matrixx to make and sell its
              patented products. It was never agreed between the
              parties that Matrixx’s Zicam® products infringe upon the
              claims of the ’802 Patent, and the parties never
              executed a license agreement. The parties never agreed
              that Trutek would receive royalties or commissions
              based on the sale of Zicam® products by Matrixx.

 Id., PageID.4408 (internal citation omitted).

       While pointing out that Matrixx never admitted infringement, Trutek does

 not disaffirm its previous allegation that Matrixx’s products are covered by the

 ’802 Patent. Moreover, Trutek does not dispute that Matrixx’s products are not

 marked with the ’802 Patent number. However, Trutek cites the Kremen

 Declaration to argue that Matrixx’s products are not subject to the marking

 requirement because Matrixx is not a Trutek licensee:

              Although the Trutek v. Matrixx lawsuit alleged that
              Matrixx infringed upon claims of the ’802 Patent, in
              settlement Matrixx never admitted infringement. As a
              result of the settlement agreement, Matrixx paid Trutek
              a lump sum of money in exchange for Trutek dismissing
              the lawsuit in federal court as well as other litigations at
              the United States Patent and Trademark Office. Trutek
              did not give Matrixx permission to sell its existing
              products nor did Matrixx request such permission.
              Nothing in the agreement conferred a license for
              Matrixx to sell Trutek’s products. Matrixx does not sell
              Trutek’s products, and it is not Trutek’s licensee. Trutek

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              does not collect a royalty or commission from Matrixx
              based on sales of its products.

 (ECF No. 89, PageID.4399).

       B.     Reconsideration Standard

       Local Rule 7.1(h) governs motions for reconsideration of non‐final orders.

 Motions for reconsideration are disfavored and may only be brought on three

 grounds:

              (A) The court made a mistake, correcting the mistake
              changes the outcome of the prior decision, and the
              mistake was based on the record and law before the
              court at the time of its prior decision;

              (B) An intervening change in controlling law warrants a
              different outcome; or

              (C) New facts warrant a different outcome and the new
              facts could not have been discovered with reasonable
              diligence before the prior decision.

 E.D. Mich. LR 7.1(h)(2)(A)‐(C).

       C.     Analysis

       Trutek brings its motion for reconsideration under Local Rule 7.1(h)(2)(A).

 To establish this ground for reconsideration, Trutek must meet three

 requirements. First, Trutek must demonstrate that the court made a mistake.

 Second, Trutek must demonstrate that correcting the mistake changes the


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 outcome of the Order. Third, Trutek must demonstrate that the mistake was

 based on the record and law before the court at the time of the Order. For the

 reasons set forth below, the court finds that Trutek has not met any of the three

 requirements for reconsideration.

       As to the first requirement for reconsideration, that the court made a

 mistake (E.D. Mich. LR 7.1(h)(2)(A)), Trutek argues that the court made a mistake

 in relying on the Peterson Declaration to find that BlueWillow has met its initial

 burden of production. Trutek’s basic contention is that the Peterson Declaration

 led the court to make the “erroneous assumption” that Matrixx is a Trutek

 licensee. (ECF No. 89, PageID.4398).

       At the outset, the court notes that Trutek’s argument and supporting

 evidence are new. On summary judgment, Trutek never rebutted the Peterson

 Declaration or raised the issue of whether BlueWillow has met its initial burden of

 production. Likewise, Trutek submitted the Kremen Declaration and argues that

 Matrixx is a not Trutek licensee for the first time in requesting reconsideration. In

 this District, “[a] party may not utilize a motion for reconsideration to introduce

 new legal theories for the first time, to raise legal argumentation which could

 have been heard during the pendency of the previous motion, or to present

 evidence that could have been adduced during the pendency of the original

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 motion.” DiPonio Constr. Co. v. Int’l Union of Bricklayers & Allied Craftworkers,

 Local 9, 739 F. Supp. 2d 986, 1004 (E.D. Mich. 2010) (quotation omitted).

       And in any event, the court notes that Trutek’s argument is legally

 unsupported and inevitably fails on the merits. Trutek does not cite any legal

 authority or discuss any legal standards for determining whether Matrixx is a

 Trutek licensee for purposes of the marking requirement. Moreover, asserting

 confidences between Trutek and Matrixx, Trutek does not submit the settlement

 agreement or disclose any of its terms. As best understood by the court, the

 Kremen Declaration, and, in turn, Trutek’s argument, are based entirely on the

 preconceived notion that the lack of the words “license” and “permission” is

 controlling.

       Contrary to Trutek’s new and legally unsupported argument, the court had

 good reason at the time of the Order to find that Matrixx is a Trutek licensee for

 purposes of the marking requirement. As noted above, Trutek does not disaffirm

 its previous allegation that Matrixx’s products are covered by the ’802 Patent.

 Under the settlement agreement, Trutek dismissed the patent infringement case

 against Matrixx with prejudice. Stipulation of Dismissal with Prejudice, Trutek

 Corp. v. Matrixx Initiatives, Inc., No. 3:19‐cv‐17647 (D.N.J. Nov. 30, 2020), ECF No.




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 86. In other words, as stated in the Kremen Declaration, Trutek “agreed not to

 reinstitute the lawsuit.” (ECF No. 89‐1, PageID.4408).

       In the context of patent law, the Federal Circuit has explained that “licenses

 are considered as nothing more than a promise by the licensor not to sue the

 licensee.” Hilgraeve Corp. v. Symantec Corp., 265 F.3d 1336, 1346 (Fed. Cir. 2001)

 (quotation omitted); see also De Forest Radio Tel. & Tel. Co. v. United States, 273

 U.S. 236, 242 (1927) (explaining that a license “has been described as a mere

 waiver of the right to sue by the patentee”); TransCore v. Elec. Transaction

 Consultants Corp., 563 F.3d 1271, 1275 (Fed. Cir. 2009) (noting that “this court

 and its predecessors have on numerous occasions explained that a non‐exclusive

 patent license is equivalent to a covenant not to sue”) (collecting cases).

 Moreover, district courts “have extended this reasoning to conclude that

 dismissals with prejudice of patent infringement claims function as the equivalent

 of a license.” Ortiz & Assocs. Consulting, LLC v. Vizio, Inc., 2023 U.S. Dist. LEXIS

 195903, at *7 (N.D. Tex. Nov. 1, 2023).

       In accordance with these principles, the Federal Circuit has construed the

 “for or under” language of Section 287(a) to apply to both express and implied

 licensees. Amsted Indus. v. Buckeye Steel Castings Co., 24 F.3d 178, 185 (Fed. Cir.

 1994). As well, district courts have held that the marking requirement applies to

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 any persons that the patentee has authorized to make or sell patented articles,

 “regardless of the particular form these authorizations may take and regardless of

 whether the authorizations are ‘settlement agreements,’ ‘covenants not to sue’

 or ‘licenses.’” In re Yarn Processing Patent Validity Litig., 602 F. Supp. 159, 169

 (W.D.N.C. 1984); see also Amsted, 24 F.3d at 185 n.2 (citing In re Yarn Processing

 “with approval”).

       In light of the relevant caselaw, the court affirms its finding that Matrixx is

 equivalent to a Trutek licensee under the settlement agreement, and that

 Matrixx’s products are therefore subject to the marking requirement. Because

 Trutek’s argument that Matrixx is not a Trutek licensee fails on the merits, they

 have not met the first requirement for reconsideration.

       As to the second requirement for reconsideration, that correcting the

 mistake changes the outcome of the Order (E.D. Mich. LR 7.1(h)(2)(A)), Trutek

 argues that correcting the mistake of finding that Matrixx is a Trutek licensee

 changes the outcome of granting BlueWillow’s motion for summary judgment of

 no pre‐suit damages. On the assumption that Matrixx’s products are not subject

 to the marking requirement, Trutek argues that BlueWillow has not met its initial

 burden of production, and therefore cannot challenge Trutek’s compliance with

 the marking requirement. Trutek argues that, after disregarding the Peterson

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 Declaration, Trutek’s marking evidence precludes summary judgment by creating

 a genuine dispute whether Trutek complied with the marking requirement. It

 follows, Trutek argues, that the court should deny BlueWillow’s motion for

 summary judgment of no pre‐suit damages.

       The court now finds that Trutek has not met the second requirement for

 reconsideration for three reasons. First, denying BlueWillow’s motion for

 summary judgment of no pre‐suit damages would not change the outcome of the

 Order as a whole. As noted above, the court held that Trutek cannot recover

 damages in this case on two independent grounds, not only under Federal Rule of

 Civil Procedure 56 because “Trutek cannot meet its burden of proving the amount

 of damages,” but also under Federal Rule of Civil Procedure 37(c)(1) because

 “Trutek never adequately asserted a claim for damages.” (ECF No. 84,

 PageID.4258, 4275). Accordingly, the outcome of no pre‐suit damages is already

 subsumed by the outcome of no damages. Denying BlueWillow’s motion for

 summary judgment of no pre‐suit damages would amount to nothing more than a

 hollow victory for Trutek on a moot issue.

       Second, Trutek’s argument that Matrixx is not a Trutek licensee (or the

 equivalent of a licensee) fails on the merits. As noted above, the court affirms its

 finding that Matrixx’s products are subject to the marking requirement, and

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 Trutek does not dispute that Matrixx’s products are not marked with the ’802

 Patent number. Accordingly, the court necessarily affirms its finding that

 BlueWillow has met its initial burden of production, and that Trutek therefore

 must meet its burden of proving compliance with the marking requirement.

       Third, as stated in the Order, “[t]he only marking evidence of record … does

 not demonstrate that Trutek and Trutek licensees consistently marked

 substantially all patented products with the ’802 Patent number or create a

 genuine dispute on this point.” (ECF No. 84, PageID.4280). The court notes that

 Trutek’s argument to the contrary is the only one of Trutek’s arguments for

 reconsideration that Trutek made on summary judgment. However, Trutek’s only

 marking evidence is expert testimony that “is conclusory and lacks factual

 support” and “only goes to Trutek marking the patented NasalGuard products,

 not Trutek licensees marking other patented products.” Id., PageID.4277‐4278.

 Trutek’s remaining marking “evidence” consists of: (1) attorney argument that

 Trutek made “[w]ithout factual support” (id., PageID.4278); and (2) purported

 testimony from Trutek witnesses that “Trutek has not disclosed pursuant to its

 discovery obligations,” “is neither evidence nor of record,” and “only goes to

 Trutek marking the patented NasalGuard products” (id., PageID.4279‐4280). In its

 motion for reconsideration, Trutek merely repeats its summary judgment

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 argument, without acknowledging that the Order fully addressed and rejected the

 argument or rebutting the court’s reasoning. (ECF No. 89, PageID.4401‐4402).

 Federal Rule of Civil Procedure 56 “require[s] a party to support factual assertions

 by ‘citing to particular parts of materials in the record.’” (ECF No. 84, PageID.4280

 (quoting Fed. R. Civ. P. 56(c)(1)(A))). For the above reasons, and particularly

 because the outcome of no pre‐suit damages is already subsumed by the

 outcome of no damages, the court finds that Trutek has not met the second

 requirement for reconsideration.

       As to the third requirement for reconsideration, that the court’s mistake

 “was based on the record and law before the court at the time of its prior

 decision” (E.D. Mich. LR 7.1(h)(2)(A)), Trutek argues that the mistake of finding

 that Matrixx is a Trutek licensee was based on the record at the time of the Order.

 According to Trutek, “[t]hat is precisely the situation” because the Peterson

 Declaration is “factually inaccurate” and “the Court’s mistake was based solely

 and entirely on the Peterson Declaration.” (ECF No. 89, PageID.4397, 4402).

 However, Trutek points to a perceived factual mistake in the record, not any

 mistake made by the court based on the record. As noted above, Trutek never

 rebutted the Peterson Declaration on summary judgment, and argues that

 Matrixx is not a Trutek licensee for the first time in requesting reconsideration.

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 Likewise, Trutek acknowledges that “had the Peterson Declaration been a factual

 description of the nature of the relationship between Matrixx and Trutek, the

 Court’s interpretation [that Matrixx is a Trutek licensee] would be accurate.” Id.,

 PageID.4398. Because Trutek does not point to any mistake made by the court

 based on the record, the court finds that Trutek has not met the third

 requirement for reconsideration.

       In summary, with respect to the portion of the Order granting BlueWillow’s

 motion for summary judgment of no pre‐suit damages, Trutek has not met any of

 the three requirements for reconsideration under Local Rule 7.1(h)(2)(A). As

 opposed to requesting “reconsideration” of the Order, Trutek uses its motion for

 reconsideration to submit the new Kremen Declaration and make the new

 argument that Matrixx is not a Trutek licensee, despite that the outcome of no

 pre‐suit damages is already subsumed by the outcome of no damages. Moreover,

 rather than pointing to any mistake made by the court based on the record at the

 time of the Order, Trutek’s arguments for reconsideration simply underscore its

 own failure to rebut the Peterson Declaration and raise the issue of whether

 BlueWillow has met its initial burden of production on summary judgment. And

 in any event, Trutek’s new and legally unsupported argument that Matrixx is not a

 Trutek licensee fails on the merits. Because Trutek has not met any of the three

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 requirements for reconsideration under Local Rule 7.1(h)(2)(A), the court DENIES

 Trutek’s motion for reconsideration.

 IV.   CONCLUSION

       For the reasons stated in this opinion and order, Trutek’s motion for

 reconsideration (ECF No. 89) is DENIED.

       SO ORDERED.

 Date: January 17, 2024                     s/F. Kay Behm
                                            F. Kay Behm
                                            United States District Judge




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